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                             UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

                                     November 6, 2024


Mark Anthony Ortega
             Plaintiff
v.                                                               5:24-cv-769-XR

Carlos Herrera
          Defendant



                                DEFAULT ENTRY BY CLERK

       It appearing from the records in the above entitled action that summons, issued on

Plaintiff’s Complaint, has been served upon the defendant(s) named below, and it further

appearing from the affidavit of counsel for plaintiff that defendant(s) has failed to plead or

otherwise defend in said action, as directed in said summons and as provided in the Federal

Rules of Civil Procedure:

      NOW, therefore, on request of counsel for plaintiff, the default of the following
named defendant(s) is hereby entered:

                                Carlos Herrera

                                                     PHILLIP J. DEVLIN, CLERK
                                                    UNITED STATES DISTRICT COURT

                                            By:______________________________
                                               Monica Granados-Ramos, Deputy Clerk
